                                       Case 3:24-cv-05417-WHA          Document 245       Filed 07/17/25      Page 1 of 1




                                   1

                                   2

                                   3

                                   4

                                   5

                                   6

                                   7

                                   8                                UNITED STATES DISTRICT COURT

                                   9
                                                                   NORTHERN DISTRICT OF CALIFORNIA
                                  10

                                  11

                                  12   ANDREA BARTZ, ANDREA BARTZ
Northern District of California




                                       INC., CHARLES GRAEBER, KIRK                         No. C 24-05417 WHA
 United States District Court




                                  13   WALLACE JOHNSON, and MJ + KJ INC.,
                                  14                 Plaintiffs,
                                                                                           ORDER RE DISCOVERY HEARING
                                  15           v.

                                  16   ANTHROPIC PBC,
                                  17                 Defendant.

                                  18

                                  19         Counsel for both sides shall please appear for a discovery hearing to discuss all pending

                                  20    discovery motions NOON ON WEDNESDAY, JULY 23, 2025 in Courtroom 12, San Francisco.

                                  21         IT IS SO ORDERED.

                                  22

                                  23    Dated: July 17, 2025.

                                  24

                                  25

                                  26                                                          UNITED STATES DISTRICT JUDGE
                                  27

                                  28
